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9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 15-CR-00118GEB
                      Plaintiff,       )
12                                     ) STIPULATION AND
           v.                          ) [PROPOSED] ORDER TO CONTINUE
13
                                       ) STATUS CONFERENCE
14   EARSHELL HAYES,                   )
     LEON CURRIE FIELDS, JR., and      ) Date: 11-4-2016
15
     DAVID WILIAM DIXON,               ) Time: 9:00 a.m.
16                    Defendants.      ) Judge: Hon. Garland E. Burrell
     __________________________________)
17

18                  Plaintiff United States of America, by and through its counsel of record,

19   and defendants EARSHELL HAYES, LEON FIELDS, and DAVID DIXON, by and
20
     through their counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status October 28, 2016.
22

23          2.      By this stipulation, defendant now moves to continue the status
24
     conference until November 4, 2016, and to exclude time between October 28, 2016 and
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     November 4, 2016, under Local Code T4. Plaintiff does not oppose this request.
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27          3.      The parties agree and stipulate, and request that the Court find the
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     following:


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1           a.      The government has provided initial discovery.
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            b.      Counsel for defendants desire additional time to complete the review of
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     discovery, to conduct defense investigation, and to discuss potential resolution with

5    their clients. It is expected that counsel will be able to determine if the case will resolve
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     or should be set for trial by the next court date.
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            c.      Counsel for defendants believes that failure to grant the above-requested
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9    continuance would deny them the reasonable time necessary for effective preparation,
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     taking into account the exercise of due diligence.
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            d.      The government does not object to the continuance.
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            e.      Based on the above-stated findings, the ends of justice served by

14   continuing the case as requested outweigh the interest of the public and the defendant in
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     a trial within the original date prescribed by the Speedy Trial Act.
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            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
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18   § 3161, et seq., within which trial must commence, the time period of October 28, 2016
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     to November 4, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§
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     3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
21

22   the Court at defendant’s request on the basis of the Court's finding that the ends of

23   justice served by taking such action outweigh the best interest of the public and the
24
     defendant in a speedy trial.
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            4.      Nothing in this stipulation and order shall preclude a finding that other
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27   provisions of the Speedy Trial Act dictate that additional time periods are excludable
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     from the period within which a trial must commence.


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1    IT IS SO STIPULATED.
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     Dated: October 27, 2016                   Respectfully submitted,
4
                                               /s/ Kelly Babineau
5
                                               KELLY BABINEAU
6                                              Attorney for Earshell Hayes
7
                                               /s/ Philip Cozens
8                                              PHILIP COZENS
                                               Attorney for Leon Fields
9

10                                             /s/ Gregory Foster
                                               GREGORY FOSTER
11                                             Attorney for David Dixon
12

13   Dated: October 27, 2016                   /s/ Paul Hemesath
14
                                               PAUL HEMESATH
                                               Assistant U.S. Attorney
15

16                                    ORDER
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           IT IS SO FOUND AND ORDERED.
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     Dated: October 27, 2016
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